
PER CURIAM:
Writ granted. Relator has adequately demonstrated that his application for post-conviction relief, arguing several alleged violations of Brady v. Maryland , 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963), overcomes the procedural bars of La.C.Cr.P. arts. 930.4(E) and 930.8(A) by proving application of the exception found in La.C.Cr.P. art. 930.8(A)(1). See State ex rel. Cormier v. State , 98-2111 (La. 12/18/98), 731 So.2d 274 ("[T]he discovery of new evidence excepting a claim from the prescriptive period of La.C.Cr.P. art. 930.8 would necessarily except a claim from the repetitiveness bars of La.C.Cr.P. art. 930.4...."). The matter is remanded to the district court for further consideration.
Weimer, J., would deny.
Guidry, J., would deny.
Genovese, J., recused.
